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                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE

 ------------------------------------------------------    X
                                                           :
 Jaden Brown,                                              : Civil Action No. 2:20-cv-0478 (NT)
                                                           :
                                Plaintiff,                 :
                                                           :
                      – against –                          :
                                                           :
 Cumberland County et al.,                                 :
                                                           :
                              Defendants.                  :
                                                           :
 -------------------------------------------------------   X


                 MOTION TO WITHDRAW AS COUNSEL FOR PLAINTIFF

        NOW COMES Dmitry Lapin, Counsel for Plaintiff in the above-captioned matter, and

hereby prays that this Honorable Court for leave to withdraw as Counsel for the Plaintiff. In

support thereof, Attorney Lapin further states:

    1. Attorney Lapin previously entered his appearance in the above-entitled action.

    2. Attorney Lapin is presently unable to continue representing Plaintiff in the above-entitled

        action, however co-counsel Jeremey Dean shall remain as sole counsel for Plaintiff.

    3. Attorney Dean was, and continues to be, Plaintiff’s lead counsel in the above-entitled

        action. As such, Plaintiff will suffer no adverse effect to her interests.

    4. Plaintiff Jaden Brown has consented to Attorney Lapin’s withdrawal.

    WHEREFORE, Attorney Lapin prays that this Honorable Court grant his motion for leave to

withdraw as Counsel for Plaintiff in this matter.
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Dated: January 12, 2022            By:   /s/ Dmitry Lapin

                                         Dmitry Lapin, Esq.
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                                         2 Victoria Lane
                                         Falmouth, ME 04105
                                         dmitry@emilyesquire.com
                                         (207) 464-0099
                                         Attorneys for Plaintiff Jaden Brown
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                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that the foregoing MOTION FOR WITHDRAWL AS
COUNSEL was served upon all counsel of record via ECF. A copy was also sent to Plaintiff Jaden
Brown via email.

Dated: January 12, 2022

Falmouth, Maine
                                                  DANCHUK LAW, LLC

                                           By:    /s/ Dmitry Lapin
                                                  Dmitry Lapin, Esq.
